         Case 1:15-cv-00053-CCC Document 41 Filed 05/12/16 Page 1 of 18




MAR S HALL DE NNE HE Y W AR NE R C O LE MAN & G O G G IN
By: J a me s H. Cole , Es quire
Attorne y I.D. #84039
10 North Ma in S tre e t, 2"" Floor        Atto rn e y fo r P la in tiff
Doyle s town, P A 18901
(267)-880-2026
jhcole @ mdwcg.com


                           THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DIS TRICT OF P ENNS YLVANIA
         Alv lc o INS UR ANC E C O MP ANY                              5
                                                                       •

         1100 Lo c u s t S tre e t                                     •
                                                                       O



         De s Mo in e s , IA 50391-1100                                0
                                                                                1:15-cv-00053
                  v.                                                   4
                                                                       I



         B R IAN YO HE AND J ILL YO HE                                 |
                                                                       1        (Ch ie f J u s tic e C o n n e r)
         705 Bro a d wa y                                              a
                                                                       •



         Ha n o ve r, P A 17331-2014                                   o
                                                                       1




                 P RETRIAL MEMORANDUM .0F.4§ mc0 INS URANCE COMP ANY

        P la intiff, AMCO Ins ura nce Compa ny, by a nd through its a ttorne ys Ma rs ha ll, De nne he y

Wa rne r, Cole ma n & Goggin a nd J a me s H. Cole , Es quire he re by s ubmits its P re tria l

Memorandum I


A. BRIEF S TATEMENT REGARDING FEDERAL COURT J URIS DICTION

    This Honora ble Court ha s dive rs ity juris diction ove r this De cla ra tory J udgme nt a ction

purs ua nt to 28 U.S .C. § i332, a s the pa rtie s a re citize ns of diffe re nt s ta te s a nd the a mount in

controve rs y e xclus ive of inte re s t a nd cos t e xce e ds the s um of $75,000.00. P la intiff, AMCO

Ins ura nce Compa ny, is a corpora tion with a principa l pla ce of bus ine s s loca te d a t 1100 Locus t

S tre e t, De s Moine s , IA 50391, Bria n Yohe a nd J ill Yohe a re P e nns ylva nia re s ide nts re s iding a t

705 Broa dwa y, Ha nove r, P A 17331 .
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B. BRIEF SUMMARY OF FACTS


         This matter involves a fire los s that occurred on M ay 5, 2014 at the property of

Defendants, Brian and Jill Yohe. Subsequently, Defendants filed a claim seeking coverage for

their loss under their AMCO Insurance Company homeowners insurance policy.                                  After

completing an investigation into the loss, Plaintiff filed a Declaratory Judgment Complaint

seeking a declaration from the court that no coverage exists for the loss due to Defendants'

breach of the policy conditions and the applicable exclusions under the insurance policy.l

         When AMCO received notice of the loss it retained a cause and origin expert to complete

an examination. Robeit Rice Jr. of Maltase Fire Investigations conducted his inspection on May

91h and l31h, 2014. While conducting an interior examination, Mr. Rice determined that the fire

originated in four separate, distinct and nomcommunicating locations. The file was ruled

incend i ary.

         The Pennsylvania State Police conducted its own investigation and determined that the

tire had started in four separate locations and had been intentionally set.

         Although Defendant, Jill Yohe, is a named insured on the policy, she was not on the

deed .   Instead, the house was deeded to Brian Yohe and his ex-wife, Kathleen Smith, Brian

Yohe's credit precluded him from refinancing the mortgage to have his ex-wife, Kathleen Smith,

removed from the loan. Ms. Smith told detectives that the deed to the subject property remained

in her name and she would not sign it over to Brian Yohe.




I It should be noted that the claim has not been denied, instead, the Declaratory Judgment Complaint was filed so
that a coverage determination could be made. It is well settled in Pennsylvania that the filing of a declaratory
judgment action is not a denial of a claim. See, Stidhain v The Millvaie SpoiTsmen's Club, 618 A.2d 945 (Pa. Super.
l992).


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        Th e s u b je c t fire o f Ma y 5 , 2 0 1 4 wa s in te n tio n a lly s e t. J ill Yo h e a rrive d a t R u tte r's

conve nie nce s tore a t 6:03 a .m. on Ma y 5, 2014. J ill Yohe a rrive d a t work be twe e n 6:10 a nd 6:15

a .m. on Ma y 5, 2014. A ne ighbor, Ka tie P a ndoli, s me lle d s moke a t 6:20 a .m.. The fire ca ll we nt

out a t 6:54 a m. P olice did not obs e rve a ny s igns of forcible e ntry.



c . UNDIS P UT E D F AC T S

    The pa rtie s a gre e tha t the following fa cts a re undis pute d:

             1) The s ubj e ct fire of Ma y 5, 2014 wa s inte ntiona lly s e t.

             2) J ill Yohe a lrive d a t Ru'cte r's conve nie nce s tore a t 6:03 a .m. on Ma y 5, 2014.

             3) J ill Yohe a rrive d a t work be twe e n 6:10 a nd 6:15 a m. on Ma y 5, 2014.

             4) The fire ca ll we nt out a t 6:54 a m. on Ma y 5, 2014.

             5) The propmty wa s de e de d to Bria n W. Yohe a nd Ka thle e n L. Yohe (now S mith),

             6) The s ubje ct AMCO Ins ura nce Compa ny policy # HOM 0045960401 wa s in full
                 force a nd e ffe ct on Ma y 5, 2014.


D. B R IE F DE S C R IP T IO N O F DAMAG E S

        1) Re la tive to the Dwe lling (Cove ra ge A) the da ma ge is a s follows :
            o Re pla ce me nt Cos t        $152,918.41
            O Le s s De pre cia tion       (88 23,668.73)
            O    Actua l Ca s h Va lue       $129,249.68

        2) Re la tive to the P e rs ona l P rope 11y (Cove ra ge C) the da ma ge is a s follows :

             o Re pla ce me nt Cos t            $ 43,013.15
             o Le s s De pre cia tion          ($ 12,903.94)
             o Actua l Ca s h Va lue             $30, 109.21


E . WIT NE S S E S

Witn e s s                               Ad d re s s
J ill Yohe                               705 Broa dwa y

                                                                3
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                                 Ha nove r, P A 17331


Bria n Yohe                      705 Broa dwa y
                                 Ha nove r, P A 17331

Ka tie P a ndoli                 709 Broa dwa y
                                 Ha nove r, P A 17331

Anthony P a ndoli                709 Broa dwa y
                                 Ha nove r, P A 17331

S ha ron Mye rs                  Rutte rs
                                 661 Broa dwa y
                                 Ha nove r, P A 1733 l

Troope r Bra dle y Dunha m       P e nns ylva nia S ta te P olice
                                 110 Troope r Cout
                                 York, P A 17403

Fire Ma rs ha ll Da n Ne ls on   MD S ta te P D Fire Ma rs ha ll
                                 200 Duke S t. 1500
                                 P rince Fre de ric, MD 20678

De te ctive J a re d C. Auma n   Ha nove r Borough P olice De pa rtme nt
                                 44 Fre de rick S tre e t
                                 Ha nove r, P A 17331

Office r Louis Loucks            Ha nove r Borough P olice De pa rtme nt
                                 44 Fre de rick S tre e t
                                 Ha nove r, P A 17331

Office r J ohn Ros e r           Ha nove r Borough P olice De pa rtme nt
                                 44 Fre de rick S tre e t
                                 Ha nove r, P A 17331

S e rge a nt J os e ph Bunty     Ha nove r Borough P olice De pa rtme nt
                                 44 Fre de rick S tre e t
                                 Ha nove r, P A 17331

Fire ma n J os e ph Millike n    P e nn Towns hip Fire De pa rtme nt
                                 20 Wa yne Ave nue
                                 Ha nove r, P A 17331

Fire ma n Ke nne th Kuhn         P e nn Towns hip Fire De pa rtme nt
                                 20 Wa yne Ave nue


                                                        4
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                             Ha nove r, P A 1733 I

Chie f J a n Crome r         P e nn Towns hip Fire De pa rtme nt
                             20 Wa yne Ave nue
                             Ha nove r, P A 1733 l

Me rle Re e s e              1550 York S tre e t
                             Ha nove r, P A 17331

S te ve Zinne ma n           641 P opla r S tre e t
                             Ha nove r, P A 17331

Ma rc J a cks on             Na tionwide Ins ura nce Compa ny
                             One Na tionwide Ga te wa y, De pt. 5867
                             De s Moine s , IA 50391-5867

Bob Ya nuzzl                 Na tionwide Ins ura nce Compa ny
                             One Na tionwide Ga te wa y, De pt. 5867
                             De s Moine s , IA 50391-5867

Da vid Me s s inge r         232 Ma in S tre e t
                             McS he rrytown, P A 17344

Ka thle e n S mith           191 1/2 S e cond Ave nue
                             Ha nove r, P A 17331

Ambe r Yohe                  191 1/2 S e cond Ave nue
                             Ha nove r, P A 17331

Bre tt Yohe                  705 Broa dwa y
                             Ha nove r, P A 17331

Tyle r Yohe                  S ims ign Roa d
                             Ha nove r, P A T733 I

Andre a Da ma to             112 E. Ha nove r S tre e t, IS I Floor
                             Ha nove r, P A 17331

Nichola s P ia ume y         P e nns ylva nia S ta te P olice
                             I10 Troope r Court
                             York, P A 17403

Robe11 Rice                  Ma lta s e Fire Inve s tiga tion
                             P .O. Box 421
                             Gra nville , WV 2653 I



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Micha e l P lick, P .E., C.F.E.I.,       P lick & As s ocia te s Fore ns ic Engine e rs
C .VF .I.                                221 Woodbine Ave
                                         Na rbe rth, P A 19072

S idne y Rubin, P .E., C.F.E.I.,         P lick & As s ocia te s Fore ns ic Engine e rs
c . v. p . I.                            221 Woodbine Ave
                                         Na rbe ith, P A 19072




F. S UMMARY OF EXP ERT WITNES S TES TIMONY


    P la intiffs e xpe rt, Robe rt Rice of Ma lte s e Fire Inve s tiga tion, is a Ce rtifie d Fire Inve s tiga tor,

Ce rtifie d Fire a nd Explos ion Inve s tiga tor, P ro Boa rd Ce rtifie d Fire Inve s tiga tor a nd a Ce rtifie d

Fire fighte r. Mr. Rice will opine a s to the ca us e a nd origin of the s ubje ct fire . Mr. Rice will

te s tify tha t the fire origina te d in the living room a nd in the ba s e me nt a nd wa s a dire ct re s ult of

the huma n inte ra ction us ing a ope n fla me . He wiil fuithe r opine tha t the individua l who s e t the

fire ha d knowle dge of the home .

    Additiona lly, P la intiffs e xpe rts , Micha e l P lick, P .E., C.F.E.I., C.vF.l. a nd S ydne y Rubin,

P .E., C.F.E.I., C.V.F.I. of P lick a nd As s ocia te s Fore ns ic Engine e rs , will 'te s tify re ga rding the

e le ctrica l a nd me cha nica l e ngine e ring ins pe ction of the home , which wa s conducte d to

de te rmine if a n e ie ctrica l or me cha nica l ma lfunction in the s ubje ct ca us e d a nd/or contribute d to

the fire . P lick a nd Rubin wili te s tify tha t none of the e le ctrica l or me cha nica l s ys te ms , or

a s s ocia te d e le ctrica l a nd me cha nica l compone nts e ithe r ca us e d, a nd/or contribute d to the ca us e ,

of the s ubj e ct fire .




G . S P E C IAL C O MME NT AB O UT P LE ADING S AND DIS C O VE R Y

         None .




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H. SUMMARY OF LEGAL ISSUES

       The jury will be asked to determine whether Jill Yohe misrepresented material facts

during the presentation of her claim and whether she intentionally caused the subject fire to be

set. Based on the jury's Endings, the Court should determine whether coverage exist and, if so,

the loss payees. Plaintiff seeks a Declaratory Judgment Hom the Court that no coverage exists for

the subject loss due to Defendants' breach of the policy conditions and the applicable exclusions

under the insurance policy.

       Plaintiff seeks a Declaratory Judgment on the basis of material misrepresentatioils made

by Mrs. Yohe throughout the presentation of this claim. The AMCO Policy includes a

Concealment or Fraud Condition that voids the policy "if, whether before or after a loss an

"insured" has engaged in liaudulent conduct, intentionally concealed or misrepresented a

material fact or made false statements. The policy also excludes intentional acts.

       Pennsylvania courts have held that an insurance policy is void for misrepresentation

                       if the insurer establishes the representation was false, that
               the insured knew that the misrepresentation was false when made
               or made it in bad faith, and the representation was material to the
               risk being insured, [and that the] insured made the
               misrepresentation with a deliberate intent to deceive.

Saracco v. Vigilant Insurance Co., 2000 U. S. Dist. LEXIS 1685 (E.D. Pa. 2000).

       In the context of an insurance policy, whether a misrepresentation is material depends on

whether the misrepresentation concerns a subject relevant and germane to the insurer's

investigation as it was proceeding. Nationwide v. McHale, 1998 U.S. Dist. LEXIS 7974 at 3

(citations omitted), Saracco v. Vigilant Insurance Co., at 18.


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         " [a ] mis re pre s e nta tion will be cons ide re d ma te ria l if a re a s ona ble ins ura nce compa ny in

de te rmining its cours e of a ction would a tta ch impoiia nce to the fa ct mis re pre s e nte d." P a ra s co v.

P a cific Inde mnity Compa ny. 920 F. S upp. 647 (US . Dis t. E,D.P .A. 1996), S a ra cco v. Vigila nt

Insurance Co., at 18,

         The Pa ra sco Court goe s on to se t fo1Th:

         it thus a ppe a rs tha t ma te ria lity of fa ls e s ta te me nts is not de te rmine d by whe the r or not the

fa ls e s ta te me nts de a l with the s ubje ct ma tte r la te r de te rmine d to be unimpoxta nt      Fa ls e s wom

a ns we rs a re ma te ria l if the y might ha ve a ffe cte d the a ttitude a nd a ction of the ins ure r. The y a re

e qua lly ma te ria l if the y ma y be s a id to ha ve be e n ca lcula te d e ithe r to dis coura ge , mis le a d or

de fle ct from the compa nys inve s tiga tion in a ny a re a tha t might s e e m to the compa ny, a t tha t

time , a re la tive or productive a re a to inve s tiga te .

         P a ra s co v. P a cific Inde mnity Compa ny, 920 F. S upp. 647, 654 (US . Dis t. E.D.P ,A. 1996)

(quoting Fine v. Be lle fonte Unde rw1.ite 1"s Ins ura nce Co., 725 F.2d Cir. l'79, 183 (1982).

         The mis re pre s e nta tion in this ins ta nce is tha t Mrs . Yohe ha s de nie d he r involve me nt in

the fire , whe n a ll of the e vide nce dire ctly links he r to the inte ntiona lly s e t fire . Obvious ly, this is

material to the claim being presented.

         P la intiff a ls o s e e ks a De cla ra tory J udgme nt purs ua nt to the Inte ntiona l Los s e xclus ion

conta ine d in the policy. The policy e xclude s cove ra ge for inte ntiona l los s ca us e d by a n ins ure d.

Inte ntiona l los s is de fine d a s "a ny los s a ris ing out of a ny a ct of a n "ins ure d" commits or

cons pire s to commit with the inte nt to ca us e a los s ." One wa y to e s ta blis h a n inte ntiona l a ct is via

the a rson de fe nse . Unde r P e nnsylva nia la w, a n insura nce compa ny tha t a sse Ns a n a rson de fe nse

mus t prove by pre ponde ra nce of the e vide nce tha t:

         I.) the re wa s a n ince ndia ry fire ,



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         2.) the ins ure d ha d a motive to de s troy the prope rty, a nd

         3.) the re wa s circums ta ntia l e vide nce linking the ins ure d to the fire .

         S a ra cco v. Vigila nt Ins ura nce Co., 2000 U.S . Dis t. Le xis 1685.

         The re is no que s tion tha t the fire wa s rule d a s ince ndia ry. This ha s be e n confirme d by the

Fire Ma rs ha ll, the s ta te a nd loca l police a nd AMCO's e xpe 1"t, Ma ita s e Fire Inve s tiga tions . While

it ne e d not be prove n by dire ct e vide nce , Mrs . Yohe 's motive to s e t the fire is cle a rly e s ta blis he d

through the circums ta ntia l e vide nce tha t e xis ts in this ca s e . The cume nt re cord conta ins a mple

circums ta ntia l e vide nce linking Ms . Yohe to the fire .

         With re s pe ct to Mr. Yohe 's a bility to re cove r, the la w is we ll s e ttle d in P e nns ylva nia tha t

the us e of the te rm "a n" or "a ny" ins ure d in a n e xclus ion is a cle a r indica tion tha t co-ins ure d

obliga tions a re joint a nd wrongful a ction by one , prohibits re cove ry by the othe r. Mc Allis te r v.

Millville Mutua l Ins ura nce Compa ny, 640 A.2d 1283, 1289 (P a . S upe r. 1994). The pre s e nt

policy a dvis e s tha t no ins ure d" is e ntitle d to cove ra ge , e ve n ins ure ds who did not commit or

cons pire to commit the a ct ca us ing the los s . " This la ngua ge is a cle a r indica tion tha t a n innoce nt

co-ins ure d, in this ca s e Mr, Yohe , ma y not re cove r due to the wrongiill a ctions of his wife .

         P la intiff s hould note tha t if the jury re je cts tha t J ill Yohe mis re pre s e nte d ma te ria l fa cts or

inte ntiona lly s ta 11e d the fire , the Court will a ls o be ca lle d upon to inte lpre t the policy's Mortga ge

Cla u s e a n d d e te rmin e wh e th e r a d d itio n a l p a ye e s e xis t. Th e s u b je ct cla u s e s ta te s th a t if a

mortga ge e is na me d in the policy, a ny los s pa ya ble unde r Cove ra ge A or B will be pa id to the

mortga ge e . In this ca s e , the Yohe prope rty wa s s ubje ct to a mortga ge a t the time of the fire a nd

the re fore , it is P la intiffs pos ition tha t the mortga ge compa ny is a n a dditiona l pa ye e unde r the

te rms of the policy.




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I. STIPULATIONS

  The pa rtie s s tipula te to the following:

      l) Bria n Yohe a nd J ill Yohe a re the na me d ins ure ds purs ua nt to AMCO Ins ura nce
          Compa ny policy # HOM 045960401 .

      2) The s ubj e ct AMCO Ins ura nce Compa ny policy # HOM 045960401 wa s in full force
          a nd e ffe ct on Ma y 5, 2014.

      3) The s ubje ct AMCO Ins ura nce Compa ny policy # HOM 0045960401 provide s for a
          $500 de ductible .

      4) The P rope rty is de e de d to Bria n Yohe a nd Ka thle e n S mith (Yohe ).

      5) Re la tive to the Dwe lling (Cove ra ge A) it is a gre e d the da ma ge is a s follows :

          O    Re pla ce me nt Cos t           $152,918.41
          o    Le s s De pre cia tion          (SB 23,668.731
          O    Actua l Ca s h Va lue             $129,249.68

      6) Re la tive to the P e rs ona l P rope Ny (Cove ra ge C) it is a gre e d the da ma ge is a s follows :

          o Re pla ce me nt Cos t             8 43,013.15
          o Le s s De pre cia tion           (S I2~903.94).
          o Actua l Ca s h Va lue              $30, 109.21

      7) P e rs ona l prope rty re quire d re me dia tion cos ts of $2,788.98 (in a ddition to the pe rs ona l
          prope rty da ma ge ).



J . E S T IMAT E D NUMB E R O F T R IAL DAYS

      P la intiff a nticipa te s tha t the tria l of this ma tte r will la s t 6-7 da ys .


K. OTHER PERTINENT MATTERS

      None a t this time .


L. SCHEDULE OF EXHIBITS

      P le a s e s e e P la intiffs S che dule of Tria l Exhibits a tta che d he re to.



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m. SPECIAL VERDICT QUESTIONS

    None a t this time .


                                  MARSHALL, DENNEHEY, WARNER,
                                      COLEMAN & GOGGIN




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                                                          V u



                                  By:

                                        J a me s H. Cole , Es quire
                                        Attorne y I.D. #84039
                                        10 N. Ma in S tre e t, 2nd Floor
                                        Doyle s town, P A 18901
                                        (267)-880-2026
                                        jhcole @ mdwcg.com




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                                     CERTIFICATE 0F sERv.1cE
        I, J a me s H. Cole , Es quire , he re by ce rtify tha t a true a nd corre ct copy of the P la intiffs

P 1° e ~Tria I Me mora ndum wa s s e rve d on the be low pa rty upon this da te via ECF s ys te m to the

following a ddre s s :


                                          Cha rle s T. Young, Es quire
                           G riffith , S tric kle r, Le rm a n , S o lym o s & C a lkin s
                                              110 S . Northe rn Wa y
                                              York, P A 17402-3737


                                                              MARSHALL, DENNEHEY, WARNER,
                                                              COLEMAN & GOGGIN


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                                                     By:

                                                              J a me s H. Cole , Es quire
                                                              Attorne y LD. #84039
                                                              10 N. Ma in S tre e t, 2nd Floor
                                                              Doyle s town, P A 18901
                                                              (267)-880-2026
                                                              jhcole @ mdwcg.com
                                                              Attorne y for P la intiff, AMCO Ins ura nce
                                                              Compa ny
Da te : Ma y 12, 2016




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